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 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                          )
                                                         )
 8                                Plaintiff,             )
 9                         vs.                           )
                                                         )            CR06-213 JCC
10
      RICHARD GOW,                                       )
11                                                       )
                                  Defendant.             )          MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James P. Donohue, United States Magistrate Judge:
14
            Counsel for the defendant has filed a Motion to Withdraw as Attorney (dkt #45). The
15
     Honorable John C. Coughenour, United States District Judge, has referred the matter to this court
16
     (dkt #46).
17
            The Court hereby schedules a hearing on the motion for Thursday, September 14, 2006, at
18
     11:30am, in Courtroom 12A, United States Courthouse, Seattle, Washington. The defendant,
19
     Richard Gow, is hereby directed to appear with his counsel of record. The Assistant U.S.
20
     Attorney may appear, but will be excused from the courtroom while the court questions Mr.Gow
21
     and his counsel regarding the motion to withdraw.
22

23                                Dated this 5th day of September , 2006
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
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23                        Dated this 5th day of September , 2006
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25                        /S/ PETER H. VOELKER
                           Deputy Clerk
26   MINUTE ORDER
